     Case 3:14-cr-00098-MCR-CJK         Document 256    Filed 01/30/15    Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                               Case No. 3:14cr98/MCR

TERRANCE T. STONE

                                    /

                         ACCEPTANCE OF PLEA OF GUILTY
       Pursuant to the Report and Recommendation of the United States Magistrate
Judge, to which there have been no timely objections, and subject to this Court’s
consideration of the Plea Agreement pursuant to Fed. R. Crim. P. 11, the plea of guilty of
the Defendant, TERRANCE T. STONE, to Counts I, II, and III of the Superseding
Indictment is hereby ACCEPTED. All parties shall appear before this Court for sentencing
as directed.
       DONE and ORDERED this 30th day of January, 2015.



                                           s/   M. Casey Rodgers
                                          M. CASEY RODGERS
                                          CHIEF UNITED STATES DISTRICT JUDGE
